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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


CONSTANCE BAGLEY,                                    Case No.: 13 Civ. 1890 (CSH)

                       Plaintiff,                    ECF Case

                v.

YALE UNIVERSITY, DOUGLAS RAE,
EDWARD SNYDER, and ANDREW
METRICK, individually,

                       Defendants.                   December 4, 2014



                      DEFENDANTS’ SUBMISSION IN RESPONSE TO
                         COURT’S DECEMBER 2, 2014 ORDER

         On December 2, 2014, the Court entered an Order directing the parties “to file, not later

than the close of business on December 4, 2014, their submissions of what the Court’s recitations

pursuant to Rules 65(d)(1)(B) and 65(d)(1)(C) [of the Federal Rules of Civil Procedure] should

say, in the event that the Plaintiff’s motion for a preliminary injunction is granted.” (Dkt. No.

82.) Defendants respectfully submit, for the reasons stated in the briefs they have already filed,

that no preliminary injunction should issue in this matter. If the Court decides to issue an

injunction, Defendants propose the following language:

         “A mandatory injunction is hereby ordered extending the term of Plaintiff’s employment

contract at the School of Management commencing January 1, 2015 and continuing until the

entry of judgment in this matter. Until judgment is entered in this matter, Yale University shall

provide Plaintiff with the same salary and fringe benefits she was receiving on December 31,

2014.”




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                                                   Respectfully submitted,

                                                   THE DEFENDANTS
                                                   YALE UNIVERSITY, DOUGLAS RAE,
                                                   EDWARD SNYDER and ANDREW
                                                   METRICK, individually,


                                                   By:    /s/ Patrick M. Noonan
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                                        CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                          /s/
                                                         Patrick M. Noonan




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